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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-0076 TLN
12                                Plaintiff,            GOVERNMENT’S MOTION TO DISMISS
                                                        INDICTMENT AND ORDER
13                          v.
14 SEAN FARRELL, and
   ETHAN STUART,
15
                                  Defendants.
16

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18          The United States of America, through its attorney of record, Assistant U.S. Attorney Jason Hitt,

19 hereby moves for an order dismissing the Indictment against defendants Sean FARRELL and Ethan

20 STUART in Case No. 2:12-CR-0076 TLN pursuant to Federal Rule of Criminal Procedure 48(a).

21          The government brings this motion in the interests of justice because each defendant entered

22 guilty pleas in Nevada County Superior Court to criminal charges related to this case and, as part of that

23 agreement, agreed to forfeiture in a case captioned United States v. Real Property located at 25818

24 Burda Lane, California, Case 2:12-CV-00813 WBS EFB. Those guilty pleas and that forfeiture were the

25 result of a global resolution reached with counsel for each defendant, the United States Attorney’s

26 Office, and the Nevada County District Attorney’s Office. Consistent with the agreement, the United

27 States agreed to dismiss this pending Indictment in exchange for each defendants’ guilty pleas to in

28 Nevada County Superior Court and the certain, specified forfeiture.

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 1         Because defendants have met all of the necessary conditions set forth in the settlement
 2 agreement, the United States respectfully moves to dismiss the Indictment against defendants Sean

 3 FARRELL and Ethan STUART in Case No. 2:12-CR-0076 TLN in the interests of justice pursuant to

 4 Rule 48(a).

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 6                                                  PHILLIP A. TALBERT
                                                    United States Attorney
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 8 Dated: June 9, 2017                              /s/Jason Hitt________________
                                                    JASON HITT
 9                                                  Assistant United States Attorney
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 1                                                      ORDER
 2          For the reasons set forth in the motion to dismiss the Indictment filed by the United States, IT IS
 3 HEREBY ORDERED that the Indictment in Case No. 2:12-CR-0076 TLN against defendant Sean

 4 FARRELL and Ethan STUART is hereby DISMISSED pursuant to Federal Rule of Criminal Procedure

 5 48(a).

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 7 Dated: June 11, 2017

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 9                                                                     Troy L. Nunley
10                                                                     United States District Judge

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